
67 So. 3d 431 (2011)
JUSTINE MARIE SIMONI AMENDED AND RESTATED REVOCABLE TRUST, Appellant,
v.
MEP ENGINEERING SOLUTIONS INC., Phillip Parker, Spencer Maxwell Bullock Architects, P.A., And Brian Spencer, Appellees.
No. 1D11-0497.
District Court of Appeal of Florida, First District.
August 11, 2011.
Joseph L. Hammons of the Hammons Law Firm, P.A., Pensacola, for Appellant.
No appearance for Appellees.
PER CURIAM.
DISMISSED. Cardiothoracic and Vascular Surgery, P.A. v. West Florida Regional Medical Center, 993 So. 2d 1060 (Fla. 1st DCA 2008).
HAWKES, CLARK, and SWANSON, JJ., concur.
